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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 16-5051-GW(AFMx)                                            Date      May 31, 2018
 Title             ALS Scan, Inc. v. Cloudflare, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            Katie Thibodeaux
                 Deputy Clerk                         Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                         None Present                                 Jebediah Wakefield by telephone
 PROCEEDINGS:                DEFENDANT CLOUDFLARE’S MOTION FOR RECONSIDERATION
                             [522]


Counsel for Plaintiff is not present.

For reasons stated on the record, Defendant’s Motion is continued to June 18, 2018 at 8:30 a.m.




                                                                                                   :       03
                                                                Initials of Preparer   JG
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